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             EXHIBIT 2
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                                                  Friday, March 21, 2025 at 03:33:55 Eastern Daylight Time

Subject:     Re: American Oversight V. U.S. Department Of Government EKiciency Et Al - Civ. A. No. 25-0409
Date:        Thursday, March 20, 2025 at 6:27:40 PM Eastern Daylight Time
From:        Elizabeth Haddix
To:          Bardo, John (USADC)
CC:          David Kronig
Attachments: 2025.03.19 DOGE order on reconsideration .pdf


Jack,

Thanks for speaking with me by phone a little while ago. As we discussed, in light of
American Oversight’s noon deadline tomorrow to respond to your motion for extension of
time, please advise by 10:00am tomorrow whether your client will stipulate that it has
preserved, and will continue to preserve, all records responsive to American Oversight's
eight FOIA requests. If it will not so stipulate, we will seek the court’s intervention, and that
issue is relevant to our response to your motion for extension of time.

As you requested, I have attached a copy of Judge Cooper’s orders.

Thanks,
Elizabeth

Elizabeth Haddix | she/hers
Senior Counsel |American Oversight
elizabeth.haddix@americanoversight.org
(252) 359-7424 ext. 1031
www.americanoversight.org | @weareoversight



From: Elizabeth Haddix <elizabeth.haddix@americanoversight.org>
Sent: Thursday, March 20, 2025 10:47 AM
To: Bardo, John (USADC) <John.Bardo@usdoj.gov>
Cc: David Kronig <david.kronig@americanoversight.org>
Subject: Re: American Oversight V. U.S. Department Of Government Eﬃciency Et Al - Civ. A. No.
25-0409

To which “federal record retention laws” do you refer?

Will your client ﬁle a stipulation that it has preserved and will continue to preserve all records
potentially responsive to American Oversight’s eight FOIA requests? If not, we intend to ask the
court for preliminary relief.

We understand your position regarding discovery and disagree with it. That aside, will your client
agree to an expedited brieﬁng schedule on the merits?



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Thanks,
Elizabeth

Elizabeth Haddix | she/hers
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From: Bardo, John (USADC) <John.Bardo@usdoj.gov>
Date: Thursday, March 20, 2025 at 10:18 AM
To: Elizabeth Haddix <elizabeth.haddix@americanoversight.org>
Cc: David Kronig <david.kronig@americanoversight.org>
Subject: RE: American Oversight V. U.S. Department Of Government EKiciency Et Al - Civ.
A. No. 25-0409

Ms. Haddix,

We will preserve all records in accordance with federal record retention laws. We absolutely will not
be agreeing to discovery because FOIA does not provide for discovery.

I have been preoccupied with TROs and have not had the opportunity to look closely at this case.
That is the reason we are requesting the extension.

John J. “Jack” Bardo
Assistant United States Attorney
Phone: (202) 870-6770


From: Elizabeth Haddix <elizabeth.haddix@americanoversight.org>
Sent: Thursday, March 20, 2025 10:13 AM
To: Bardo, John (USADC) <John.Bardo@usdoj.gov>
Cc: David Kronig <david.kronig@americanoversight.org>
Subject: [EXTERNAL] Re: American Oversight V. U.S. Department Of Government Eﬃciency Et Al - Civ. A.
No. 25-0409

Mr. Bardo:

Please note that you used an incorrect email for me in your below message.

The urgency of the information American Oversight requested on an expedited basis on Jan. 30
precludes our ability to waive deadlines or agree to any further delay. Will your client stipulate on
the record in this case that it (1) has preserved and will continue to preserve all records potentially
responsive to American Oversight’s eight FOIA requests and (2) will agree to limited discovery and
an expedited brieﬁng schedule on the merits of whether it is subject to FOIA? If not, we intend to


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promptly seek Judge Howell’s intervention.

We look forward to hearing from you before the end of today.

Thanks,
Elizabeth

Elizabeth Haddix | she/hers
Senior Counsel | American Oversight
elizabeth.haddix@americanoversight.org
(252) 359-7424 ext. 1031
www.americanoversight.org | @weareoversight



From: Bardo, John (USADC) <John.Bardo@usdoj.gov>
Date: Wednesday, March 19, 2025 at 5:00 PM
To: David Kronig <david.kronig@americanoversight.org>,
Haddix@americanoversight.Org <Haddix@americanoversight.Org>
Subject: American Oversight V. U.S. Department Of Government EKiciency Et Al - Civ. A.
No. 25-0409
Good afternoon,

I will be handling this case on behalf of the Government. Would you all be willing to consent to a 30-
day extension of our response deadline? I am currently bogged down with TROs.

John J. “Jack” Bardo
Assistant United States Attorney
United States Attorney’s Office
District of Columbia
601 D Street, NW
Washington, DC 20530
Phone: (202) 870-6770




                                                                                                         3 of 3
